                  Case 24-41552                       Doc 8            Filed 07/15/24 Entered 07/15/24 07:35:10                                                       Desc Main
                                                                         Document     Page 1 of 41
 Fill in this information to identify your case and this filing:

  Debtor 1                 Michael                       D.                           Fordinal
                           First Name                   Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                   Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Eastern                    District of           Texas

  Case number             24-41552                                                                                                                                        ❑ Check if this is an
                                                                                                                                                                            amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                    12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.        Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           ✔ No. Go to Part 2.
           ❑
           ❑ Yes. Where is the property?


                                                                                                                                                                      ➔
 2.        Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
           you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                         $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        ❑ No
        ✔ Yes
        ❑

        3.1     Make:                           Ford               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                   ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                Model:                        Expedition           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                   ❑ Debtor 1 and Debtor 2 only
                Year:                           2020               ✔ At least one of the debtors and another
                                                                   ❑
                                                                                                                                        Current value of the
                                                                                                                                        entire property?
                                                                                                                                                                          Current value of the
                                                                                                                                                                          portion you own?

                Approximate mileage:            49000              ✔ Check if this is community property (see
                                                                   ❑                                                                                  $47,998.00                   $47,998.00
                                                                       instructions)
                Other information:




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes


Official Form 106A/B                                                                 Schedule A/B: Property                                                                               page 1
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                                                                                                                                                                    ➔
 5.      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
         you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                                 $47,998.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                      Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                            $6,000.00
                                           Household goods, furnishings, and appliances (includes items in storage)


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                            $1,500.00
                                           Televisions, electronics, phones, computers, and printers


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                            $8,000.00
                                           Books


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                   Golf clubs valued at $1,000.00
                                                                                                                                                                                    $3,000.00
                                           Piano and guitar valued at $2,000.00

 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                   1970 Marlin 30/30 Bicentennial Edition and Daniel Defense DDM4 V7 .556
                                           Caliber valued at $3,000.00
                                                                                                                                                                                    $6,000.00
                                           Springfield 40 caliber handgun, Sig Sauer P365 9mm handgun, Henry Golden
                                           Boy .22, Remington 870 12 gauge, Remington 700 BDL 7MM-08, and
                                           Remington 700 .270 valued at $3,000.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 2
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 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                     $800.00
                                                   Clothing, shoes, and accessories


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                   $7,500.00
                                                   Jewelry


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............



                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                        $32,800.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                           Cash: ...................                    $0.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Other financial account:                    Paypal                                                                                                           $0.00

                                             17.2. Other financial account:                    Venmo                                                                                                            $0.00




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 3
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 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ❑ No
       ✔ Yes .....................
       ❑                              Institution or issuer name:

                                       Acorns account                                                                                               $8.54

                                       Charles Schwab (4537; formerly TDAmerica 2832)                                                               $3.96

                                       Coinbase (5342)                                                                                              $0.00

                                       Tradier brokerage account (8619)                                                                             $0.00


 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
           information about
           them....................   Name of entity:                                                       % of ownership:

                                       Franklin Media LLC (not operating)                                               100.00%                     $0.00

                                       Michael Fordinal (sole proprietorship; day trading; closed)                      100.00%                     $0.00

                                       Michael Fordinal (sole proprietorship; songwriter; not                           100.00%
                                                                                                                                                    $0.00
                                       operating)


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................


 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately.


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑ No
       ✔ Yes ......................
       ❑                                                    Institution name or individual:

                                      Security deposit on rental unit:   Laurel Point                                                            $4,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                   page 4
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 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................

 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑ No
       ✔ Yes. Give specific
       ❑
           information about them. ...
                                              Domain names: michaelfordinal.com; bitcointhrift.com; ThriftyCrypto.com;                                 $0.00
                                              franklinmediabooks.com


 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you
                 already filed the returns and
                 the tax years. ...................


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                                Schedule A/B: Property                                                            page 5
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 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ❑ No
       ✔ Yes. Give specific information. ........
       ❑                                                                                                                                                                                             $578.50
                                                                  Uncashed songwriting royalty check from BMI


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                        Surrender or refund value:

                                                                      Term life insurance policy with
                                                                      Trans-America                                              Jessica Fordinal                                                      $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $4,591.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.


                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                     $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                       page 6
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 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.


                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                    $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ❑ No
       ✔ Yes. Give specific
       ❑
            information. ............
                                                Non-filing spouse has the following separate property and separately
                                                managed community property:
                                                -clothing, shoes, and accessories
                                                -jewelry
                                                -SoFi checking account (6531)                                                                                                                         $0.00
                                                -SoFi savings account (1591)
                                                -IRA with Charles Schwab
                                                -term life insurance policy with Trans-America
                                                -100% interest in Textbooks Plus, LLC




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                   $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔                $0.00


 56.   Part 2: Total vehicles, line 5                                                                              $47,998.00

 57.   Part 3: Total personal and household items, line 15                                                         $32,800.00

 58.   Part 4: Total financial assets, line 36                                                                       $4,591.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $85,389.00              Copy personal property total             ➔      +    $85,389.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                   $85,389.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                  page 7
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 Fill in this information to identify your case:

  Debtor 1            Michael                 D.                    Fordinal
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:               Eastern               District of        Texas

  Case number         24-41552
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2020 Ford                          $47,998.00
       description:      Expedition                                            ✔
                                                                               ❑            $29,400.00                       Tex. Prop. Code §§ 42.001(a),
       Line from                                                               ❑ 100% of fair market value, up to            42.002(a)(9)
       Schedule A/B:        3.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 3
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Debtor 1            Michael           D.                  Fordinal                       Case number (if known) 24-41552
                First Name           Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              Household goods,              $6,000.00
     description:       furnishings, and
                        appliances
                        (includes items in
                        storage)                                      ✔
                                                                      ❑        $6,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑   100% of fair market value, up to
                                                                                                                42.002(a)(1)
     Schedule A/B:            6                                           any applicable statutory limit

     Brief              Televisions,                  $1,500.00
     description:       electronics,
                        phones,
                        computers, and
                        printers                                      ✔
                                                                      ❑        $1,500.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:            7                                           any applicable statutory limit

     Brief              Books                         $8,000.00
     description:                                                     ✔
                                                                      ❑        $8,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:            8                                           any applicable statutory limit

     Brief              Golf clubs valued             $1,000.00
                                                                      ✔
     description:       at $1,000.00                                  ❑        $1,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(8)
     Schedule A/B:            9                                           any applicable statutory limit

     Brief              Piano and guitar              $2,000.00
                                                                      ✔
     description:       valued at $2,000.00                           ❑        $2,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(4)
     Schedule A/B:            9                                           any applicable statutory limit

     Brief              1970 Marlin 30/30             $3,000.00
     description:       Bicentennial
                        Edition and Daniel
                        Defense DDM4 V7
                        .556 Caliber valued
                        at $3,000.00                                  ✔
                                                                      ❑        $3,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(7)
     Schedule A/B:        10                                              any applicable statutory limit

     Brief              Clothing, shoes,                $800.00
     description:       and accessories                               ✔
                                                                      ❑         $800.00                         Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(5)
     Schedule A/B:        11                                              any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                      page 2 of 3
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                First Name           Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              Jewelry                       $7,500.00
     description:                                                     ✔
                                                                      ❑        $7,500.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(6)
     Schedule A/B:        12                                              any applicable statutory limit

     Brief              Term life insurance                $0.00
     description:       policy with Trans-
                        America                                       ✔
                                                                      ❑          $0.00                          Tex. Ins. Code §§ 1108.001,
     Line from                                                        ❑ 100% of fair market value, up to        1108.051
     Schedule A/B:        31                                              any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                      page 3 of 3
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 Fill in this information to identify your case:

     Debtor 1          Michael                 D.                  Fordinal
                      First Name               Middle Name         Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name         Last Name

     United States Bankruptcy Court for the:             Eastern            District of      Texas

     Case number (if 24-41552
     known)                                                                                                                              ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below.




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                        page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1            Michael                 D.                      Fordinal
                     First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                 Eastern               District of       Texas

  Case number        24-41552
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.1 Amazon Lending                                                     Last 4 digits of account number           1    7    7    7                            $211,780.27
       Nonpriority Creditor’s Name
                                                                       When was the debt incurred?
        410 Terry Avenue N.
       Number              Street
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       ❑ Contingent
        Seattle, WA 98109
                                                                       ❑ Unliquidated
       City                     State                    ZIP Code
                                                                       ❑ Disputed
       Who incurred the debt? Check one.
                                                                       Type of NONPRIORITY unsecured claim:
       ❑ Debtor 1 only
       ❑ Debtor 2 only                                                 ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                            priority claims
       ✔ At least one of the debtors and another
       ❑                                                               ❑ Debts to pension or profit-sharing plans, and other similar debts
       ❑ Check if this claim is for a community debt                   ✔ Other. Specify Business Debt
                                                                       ❑
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 American Express                                           Last 4 digits of account number         2    0   0    9                         $81,548.32
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 6031
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Carol Stream, IL 60197-6031
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 AT&T                                                       Last 4 digits of account number         7    8   5    6                          $1,202.64
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      208 S. Akard Street, Ste. 2954
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Dallas, TX 75202
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 Best Egg                                                   Last 4 digits of account number         9    4   8    2                         $27,293.71
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/2022
      PO Box 42912
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101-2912
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 BlueVine, Inc.                                             Last 4 digits of account number                                                 $69,147.63
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      401 Warren Street, Ste. 300
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Redwood City, CA 94063                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name             Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.6 Capital One                                                  Last 4 digits of account number         7    6   3    3                         $109,834.26
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
     PO Box 30285
    Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
     Salt Lake City, UT 84130-0285
                                                                 ❑ Unliquidated
    City                    State                   ZIP Code
                                                                 ❑ Disputed
    Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
    ❑ Debtor 1 only
    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
    ✔ At least one of the debtors and another
    ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes
4.7 Chase Card Services                                          Last 4 digits of account number         6    3   6    9                          $29,944.18
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  4/2017
     PO Box 15298
    Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

     Wilmington, DE 19850-5298
                                                                 ❑ Contingent
    City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
    Who incurred the debt? Check one.
    ✔ Debtor 1 only
    ❑
                                                                 Type of NONPRIORITY unsecured claim:

    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
    ❑ At least one of the debtors and another                    ❑ Debts to pension or profit-sharing plans, and other similar debts
    ✔ Check if this claim is for a community debt
    ❑                                                            ✔ Other. Specify Credit Card
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes




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               First Name             Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.8 Crosby Abulafia, LLC                                         Last 4 digits of account number         1    1   4    3                          $37,117.92
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 02/2020
     c/o Trinity Interests-Attn Timothy Morehead
     12740 Hillcrest, Ste. 101
                                                                 As of the date you file, the claim is: Check all that apply.
    Number             Street
                                                                 ❑ Contingent
     Austin, TX 78701
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
    City                    State                   ZIP Code

    Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
    ❑ Debtor 1 only
    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
    ✔ At least one of the debtors and another
                                                                    priority claims
    ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes
4.9 First Citizens Community Bank                                Last 4 digits of account number         2    5   7    1                         $201,487.50
    Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
     11499 Route 6
    Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
     Wellsboro, PA 16901
                                                                 ❑ Unliquidated
    City                    State                   ZIP Code
                                                                 ❑ Disputed
    Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
    ❑ Debtor 1 only
    ❑ Debtor 2 only                                              ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
    ✔ At least one of the debtors and another
    ❑                                                            ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                 ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes




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Debtor 1        Michael                 D.                  Fordinal                        Case number (if known) 24-41552
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.10 Franklin Media LLC                                         Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       1100 Misty Ridge Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Justin, TX 76247                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Personal Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.11 Frontier                                                   Last 4 digits of account number         1    5   1    8                           $415.83
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 5166
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Tampa, FL 33675
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                       Fordinal                        Case number (if known) 24-41552
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                             Total claim
4.12 Green Mountain Energy                                          Last 4 digits of account number         0    6   2    0                           $2,218.44
      Nonpriority Creditor’s Name
                                                                    When was the debt incurred?
      PO Box 328
      Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    ❑ Contingent
      Houston, TX 77001
                                                                    ❑ Unliquidated
      City                   State                    ZIP Code
                                                                    ❑ Disputed
      Who incurred the debt? Check one.
                                                                    Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                               ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                       priority claims
      ✔ At least one of the debtors and another
      ❑                                                             ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                 ✔ Other. Specify Business Debt
                                                                    ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.13 Half Price Books                                               Last 4 digits of account number                                                 $250,938.18
      Nonpriority Creditor’s Name
                                                                    When was the debt incurred?
      5803 E. Northwest Hwy.
      Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    ❑ Contingent
      Dallas, TX 75231                                              ❑ Unliquidated
      City                   State                    ZIP Code      ❑ Disputed
      Who incurred the debt? Check one.
                                                                    Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                               ❑ Student loans
      ❑ Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                     priority claims
      ✔ At least one of the debtors and another
      ❑                                                             ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                 ✔ Other. Specify Business Debt
                                                                    ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
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   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.14 Headway Capital                                             Last 4 digits of account number         9    7     8    5                       $98,815.62
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 05/2023
      175 W. Jackson Blvd., Ste. 1000
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Chicago, IL 60604
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.15 Internal Revenue Service                                    Last 4 digits of account number         6    0     8    9                       $18,614.55
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                      2020
      PO Box 7346
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101-7346
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.16 Irving ISD Tax Assessor-Collector                           Last 4 digits of account number                                                 $16,963.05
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Cherylyn Elzy, RTA
      PO Box 152021                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Irving, TX 75015                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.17 Itria Ventures LLC                                          Last 4 digits of account number         6    0   8    9                         $30,687.50
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      One Penn Plaza, Ste. 3101
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      New York, NY 10119
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.18 Marlin Leasing Corp. dba PEAC Solutions                     Last 4 digits of account number         9    0   0    1                         $227,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Karen Shields, Esq.
      300 Fellowship Road
                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
      Mount Laurel, NJ 08054
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.19 Michael and Lisa Fordinal                                   Last 4 digits of account number                                                 $600,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      2950 Springer Road

                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
      Midlothian, TX 76065                                       ❑ Unliquidated
      City                   State                    ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.20 North Texas Tollway Authority                               Last 4 digits of account number         0    3   6    1                          $1,159.81
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 660244
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Dallas, TX 75266-0244
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Tolls
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.21 OSM                                                         Last 4 digits of account number         7    0   8    5                         $18,477.50
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      601 Regency Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Glendale Heights, IL 60139
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.22 Parafin Inc.                                                Last 4 digits of account number                                                 $211,850.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/2023
      301 Howard Street, Ste. 1500
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      San Francisco, CA 94105
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.23 PNC Bank                                                    Last 4 digits of account number         2    4   9    0                         $69,147.63
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      The Tower at PNC Plaza
      300 Fifth Avenue
                                                                 As of the date you file, the claim is: Check all that apply.
      Number            Street
                                                                 ❑ Contingent
      Pittsburgh, PA 15222
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                  Fordinal                        Case number (if known) 24-41552
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.24 Quench USA                                                 Last 4 digits of account number                                                   $316.68
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 735777
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75373-5777                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.25 Republic Services                                          Last 4 digits of account number         6    5   8    0                         $4,530.36
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       18500 North Allied Way
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Phoenix, AZ 85054
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                         Case number (if known) 24-41552
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.26 The Fundworks                                              Last 4 digits of account number         7    6   0    9                          $20,324.32
      Nonpriority Creditor’s Name
                                                                When was the debt incurred?
      5990 Sepulveda Blvd., Ste. 310
      Number            Street
                                                                As of the date you file, the claim is: Check all that apply.
                                                                ❑ Contingent
      Van Nuys, CA 91411
                                                                ❑ Unliquidated
      City                   State                ZIP Code
                                                                ❑ Disputed
      Who incurred the debt? Check one.
                                                                Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                           ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                   priority claims
      ✔ At least one of the debtors and another
      ❑                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt             ✔ Other. Specify Business Debt
                                                                ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.27 U.S. Small Business Administration                         Last 4 digits of account number         7    4   0    1                        $2,152,120.77
      Nonpriority Creditor’s Name
                                                                When was the debt incurred?
      409 3rd Street, SW
      Number            Street
                                                                As of the date you file, the claim is: Check all that apply.
                                                                ❑ Contingent
      Washington, DC 20416
                                                                ❑ Unliquidated
      City                   State                ZIP Code
                                                                ❑ Disputed
      Who incurred the debt? Check one.
                                                                Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                           ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                              ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                   priority claims
      ✔ At least one of the debtors and another
      ❑                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt             ✔ Other. Specify Business Debt
                                                                ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.28 U.S. Small Business Administration                          Last 4 digits of account number         6    8   8    4                        $195,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      409 3rd Street, SW
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Washington, DC 20416
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.29 Uber Freight                                                Last 4 digits of account number         0    6   6    9                           $1,894.38
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      433 W. Van Buren St., Ste. 900
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Chicago, IL 60607
                                                                 ❑ Unliquidated
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael                 D.                   Fordinal                        Case number (if known) 24-41552
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.30 Velocity Capital Group LLC                                  Last 4 digits of account number                                                 $60,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      333 Pearsall Ave.
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Cedarhurst, NY 11516                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Michael               D.                     Fordinal                        Case number (if known) 24-41552
               First Name             Middle Name           Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Altus Receivables Management                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.1 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     PO Box 186                                                                                 ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number       1    3   6    1

     Metairie, LA 70004-0186
    City                         State          ZIP Code
 2. The Collection Law Group                                      On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.5 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Carolyn Dimson                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     1830 Pearl Street 2nd Floor, Ste. 100                        Last 4 digits of account number
    Number         Street
     Boulder, CO 80302
    City                         State          ZIP Code
 3. Hillcrest, Davidson & Associates, LLC                         On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.8 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Kenny Williams                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
     1771 International Pkwy., Ste. 101                           Last 4 digits of account number       4    4   7    4
    Number         Street
     Richardson, TX 75081
    City                         State          ZIP Code
 4. Braavo Bank                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.9 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     11499 Route 6                                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Wellsboro, PA 16901
    City                         State          ZIP Code
 5. Jonathan Gitlin, Esq.                                         On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.17 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     One Penn Plaza, Ste. 3101                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     New York, NY 10119
    City                         State          ZIP Code
 6. Aubrey Thrasher                                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.22 of (Check one):     ❑ Part 1: Creditors with Priority Unsecured Claims
     12 Powder Springs Street, Ste. 240                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Marietta, GA 30064
    City                         State          ZIP Code




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Debtor 1        Michael            D.                 Fordinal                       Case number (if known) 24-41552
               First Name          Middle Name        Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
 7. Capital Resource International                         On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                           Line 4.26 of (Check one):    ❑ Part 1: Creditors with Priority Unsecured Claims
     Attn: Joshua Provost, Esq.                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                        ❑
     25852 McBean Pkwy., Ste. 801                          Last 4 digits of account number
    Number         Street
     Santa Clarita, CA 91355
    City                       State       ZIP Code




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Debtor 1          Michael                D.                     Fordinal                     Case number (if known) 24-41552
                  First Name            Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +            $4,749,831.05
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                         $4,749,831.05




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 Fill in this information to identify your case:

     Debtor 1                       Michael              D.                 Fordinal
                                    First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Eastern District of Texas

     Case number                            24-41552                                                                                     ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                                Residential Lease
         Jordan Mitchell                                                                           Contract to be ASSUMED
        Name


        Number             Street


        City                                     State   ZIP Code

2.2                                                                                                Residential Lease
         Laurel Point                                                                              Contract to be REJECTED
        Name


        Number             Street


        City                                     State   ZIP Code

2.3                                                                                                Storage Unit Lease (month to month)
         Sunbelt Self Storage                                                                      Contract to be ASSUMED
        Name


        Number             Street


        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code


Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1             Michael                D.                     Fordinal
                      First Name             Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Eastern           District of        Texas

  Case number         24-41552
  (if known)                                                                                                                              ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                      Texas              . Fill in the name and current address of that person.

                   Fordinal, Jessica
                   Name of your spouse, former spouse, or legal equivalent
                   1100 Misty Ridge Drive
                   Number                 Street
                   Justin, TX 76247
                   City                            State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:
 3.1    Franklin Media LLC
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ✔ Schedule E/F, line
                                                                                                        ❑
        Number                          Street                                                          4.1, 4.2, 4.3, 4.5, 4.6, 4.8, 4.9, 4.11, 4.12, 4.13, 4.14,
                                                                                                         4.15, 4.16, 4.17, 4.18, 4.21, 4.22, 4.23, 4.24, 4.25,
        City                                       State                                    ZIP Code                  4.26, 4.27, 4.28, 4.29, 4.30

                                                                                                        ❑ Schedule G, line
 3.2
        Name                                                                                            ❑ Schedule D, line
                                                                                                        ❑ Schedule E/F, line
        Number                          Street
                                                                                                        ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                           page 1 of 1
                        Case 24-41552              Doc 8         Filed 07/15/24 Entered 07/15/24 07:35:10                              Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  Michael                D.                 Fordinal
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                             Check if this is:

                                                                 Eastern District of Texas
                                                                                                                           ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       24-41552                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                       ✔ Not Employed
                                                                          ❑ Employed ❑                                      ✔ Employed ❑ Not Employed
                                                                                                                            ❑
     attach a separate page with
     information about additional            Occupation                   Unemployed                                        Owner
     employers.
                                             Employer's name                                                                Textbooks Plus, LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address                                                             1100 Misty Ridge Drive
     Occupation may include student                                        Number Street                                     Number Street
     or homemaker, if it applies.




                                                                                                                            Justin, TX 76247
                                                                           City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?                                                        6 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1   For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.                $0.00              $12,500.00

 3. Estimate and list monthly overtime pay.                                                3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.                $0.00              $12,500.00




Official Form 106I                                                         Schedule I: Your Income                                                              page 1
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 Debtor 1                 Michael                      D.                              Fordinal                                      Case number (if known) 24-41552
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00              $12,500.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00               $2,346.41
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00               $2,346.41
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00              $10,153.59
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify: Royalties                                                            8h.   +         $40.71         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.              $40.71                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.             $40.71     +         $10,153.59          =       $10,194.30

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.           $10,194.30
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                        Case 24-41552               Doc 8         Filed 07/15/24 Entered 07/15/24 07:35:10                              Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  Michael                 D.                   Fordinal
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Eastern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                       24-41552
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Mother-In-Law                       72                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Son                                 7                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Daughter                            5                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Daughter                            3                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Son                                 1                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $4,000.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                   $50.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                     $0.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            Michael                D.                   Fordinal                                    Case number (if known) 24-41552
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                  $375.00
       6b. Water, sewer, garbage collection                                                                       6b.                  $175.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                  $200.00

       6d. Other. Specify:                                                                                        6d.                       $0.00
 7.    Food and housekeeping supplies                                                                             7.                 $3,000.00

 8.    Childcare and children’s education costs                                                                   8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $200.00

 10. Personal care products and services                                                                          10.                  $200.00

 11.   Medical and dental expenses                                                                                11.                  $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                       $0.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                   $75.00
       15b. Health insurance                                                                                      15b.                 $867.00
       15c. Vehicle insurance                                                                                     15c.                 $100.00

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2020 Ford Expedition                                                       17a.                 $418.00
       17b. Car payments for Vehicle 2                                                                            17b.                      $0.00
       17c. Other. Specify:                                                                                       17c.                      $0.00
       17d. Other. Specify:                                                                                       17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            Michael             D.                    Fordinal                                     Case number (if known) 24-41552
                     First Name          Middle Name           Last Name



 21. Other. Specify: See Additional Page                                                                         21.    +            $1,043.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                $11,303.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                       $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                $11,303.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                $10,194.30

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –        $11,303.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.                ($1,108.70)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                  page 3
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 Debtor 1             Michael             D.               Fordinal                            Case number (if known) 24-41552
                      First Name          Middle Name      Last Name




                                                                                                                                 Amount


   21. Other
       Homeschooling costs                                                                                                       $384.00
       Children's sports and activities                                                                                          $400.00
       Tolls                                                                                                                      $50.00
       Storage unit                                                                                                              $209.00




Official Form 106J                                                 Schedule J: Your Expenses                                         page 4
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 Fill in this information to identify your case:

  Debtor 1                      Michael                     D.                       Fordinal
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                    Eastern District of Texas

  Case number                              24-41552                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $85,389.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $85,389.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                     $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +       $4,749,831.05

                                                                                                                                                  Your total liabilities               $4,749,831.05

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                  $10,194.30


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                $11,303.00




Official Form 106Sum                                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1 of 2
                  Case 24-41552                Doc 8       Filed 07/15/24 Entered 07/15/24 07:35:10                               Desc Main
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Debtor 1            Michael               D.                     Fordinal                                          Case number (if known) 24-41552
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Michael                D.                 Fordinal
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Texas

  Case number                       24-41552                                                                                       ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Michael D. Fordinal
        Michael D. Fordinal, Debtor 1


        Date 07/15/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
